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                               February 2, 2011

BY ECF
Hon. Joanna Seybert
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722-4454

                  Re: United States v. Christian Tarantino
                              08 Cr 655 (JS)

Dear Judge Seybert:

       When we last appeared before Your Honor for an emergency status
conference on December 20, 2010, it was because the government’s
initial disclosure of 3500 materials for the Mastrangelo hearing included a
substantial amount of tape recordings for a key witness, Gaetano Fatato,
and we needed time to review the recordings. In fairness to the defense,
Your Honor adjourned the Mastrangelo hearing and trial.

      Late this past Monday, defense counsel was provided with the
balance of the 3500 materials for the Mastrangelo hearing scheduled to
start before Your Honor on February 14, 2011. Included within the new
disclosures were a massive amount of additional tape recordings for
Fatato not previously provided by the government. The most recent
disclosure includes five large binders containing more than 242 compact

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discs apparently consisting of the consensual body recordings made by
Fatato. We have not completed our review of the initial disclosure of
tape recordings made by the government, which apparently only
consisted of the consensual telephone recordings of Fatato. We should
be afforded the opportunity to review all of the 3500 materials for
Fatato, and not be limited because of an 11th hour disclosure made by the
government. I submit, it will be impossible to listen to the additional
242 compact discs recently provided by the government within the
present time frame allotted, especially in light of our other case specific
responsibilities and obligations.

     As we stated in a prior letter to Your Honor dated December 19,
2010, we are duty bound to review all of the 3500 materials for Fatato,
especially recordings where Sonny Franzese is allegedly overheard.
As Your Honor may recall, in a letter written in opposition to our
supplemental demand for Brady materials, dated December 7, 2010, the
government stated that “LOUIS DORVAL was set up to be killed by
CHRISTIAN TARANTINO.” And, “[t]he order to murder DORVAL came from
[Columbo Organized Crime Family under-boss JOHN] SONNY FRANZESE.”

     I am, therefore, respectfully requesting that the hearing and trial
be adjourned for a reasonably short period of time of at least three
weeks.


                                Respectfully,

                                   /MR/

                               Michael Rosen


MR:wp




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